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 Jonathan Testa, Esq.
 Attorney ID: 015152009
 Dorsey & Semrau
 714 Main Street
 Boonton, New Jersey 07005
 T:(973)334-1900
 F:(973)334-3408
 jtesta@dorseysemrau.com
 Attorneys Defendants Township of Mahwah
 and Mahwah Township Council
  GURBIR S. GREWAL, Attorney General of                  UNITED STATES DISTRICT COURT
  New Jersey; CRAIG SASHIHARA, Director of              FOR THE DISTRICT OF NEW JERSEY
  the New Jersey Division on Civil Rights; and                (NEWARK VICINAGE)
  CATHERINE R. McCABE, Commissioner of
  the Department of Environmental Protection,                      CIVIL ACTION NO.:
                                                                 2:17-CV-11988-JMV-JBC
                                         Plaintiffs,
                                                            CERTIFICATION OF SERVICE
                        -vs-

 TOWNSHIP OF MAHWAH and MAHWAH
 TOWNSHIP COUNCIL

                                      Defendants.


        I, Jonathan Testa, Esq., an attorney-at-law of the State of New Jersey, licensed to practice in

 the Federal District Court for the District of New Jersey, do hereby certify as to the following:

        1.      On January 24, 2023, I caused the within Notice of Motion, Legal Brief,

 Certification of Counsel & Exhibits, Certification of Benjamin Kezmarsky, this Certification of

 Service, and the proposed form of order to be filed via CM/ECF with the Clerk of Court, Martin

 Luther King Building & U.S. Courthouse, 50 Walnut Street Room 4015, Newark, NJ 07101.

        2.      On January 24, 2023, I caused one copy of the above-listed documents to be served

 via CM/ECF, Electronic Mail, and USPS upon Plaintiffs’ Counsel of Record as follows:




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        Chief, Deputy Attorney General James Michael, Esq.
        New Jersey Division of Law,
        Administrative Practice - Newark Group
        Administrative Civil Rights Section
        124 Halsey Street 5th Floor (PO Box 45029)
        Newark, New Jersey 07101
        Emails: james.michael@law.njoag.gov;
        NJAG.ElectronicService.CivilMatters@law.njoag.gov
        (Attorney for Plaintiffs)

        3.      In accordance with the Order of the Honorable Stuart Rabner, Chief Justice of the

 Supreme Court of New Jersey, issued on April 7, 2020, service on the Office of the Attorney

 General, Department of Law & Public Safety−Division of Law, is to be made electronically to:

 NJAG.ElectronicService.CivilMatters@law.njoag.gov

        4.      I hereby certify that the foregoing statements made by me are true. I am aware that

 if any of the foregoing statements made by me are willfully false, I am subject to punishment.


                                              Respectfully submitted,
                                              Dorsey & Semrau, LLC
                                              Attorneys for Defendants
                                              Township of Mahwah and
                                              Mahwah Township Council

                                      By:     /s/ Jonathan Testa
                                              JONATHAN TESTA, ESQ.
                                              Attorney ID: 015152009
                                              714 Main Street
                                              Boonton, New Jersey 07005
                                              T:(973)334-1900
                                              Email: jtesta@dorseysemrau.com

 Dated: January 24, 2023




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